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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                         Case No.:1l-6olg8-civ-lordan& andstra

  SUSAN M .JORDAN ,                                                                 Q oY
         Plaintiff,                                                               c% zz o
  V.                                                                                *e
  ALLIANCEONE RECEIVABLES M ANAGEM EN T,IN C.

         Defendant.
                                                   /

                                O RD ER OF DISM ISSA L

         TH IS C AU SE is before the Courtupon the partiesJointStipulation forPartial

   DismissalwithPrejudice(DE Vl), TheCourthasbeenadvisedthatPlaintiff'sclaims
   undertheFloridaConsumerCollectionPracticesAct(S6FCCPA'')havebeenamicably

   resolved,thus itis hereby,

         ORDERED AN D ADJUDGED thatPlaintiff'sclaim sunderthe FCCPA are

   DISM ISSED W ITH PREJUDICE,with each party to bearitsown costsand feesexcept

   asotherwise agreed by theparties.DONE AN D ORDERED in the Southern Districtof

   Florida this$(V dayof Uerro.t<     2o11 '1N ,'ç ecre tj ct-ue:, Jubxjer#-1.0
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                                                   Jk>/
                                          A D ALBERTO JO R D AN
                                          U nited States D istrictJudge


   cc:    Donald A.Yarbrough,Esq..CounselforPlaintiff
          DaleT.Golden,Esq.,CounselforDefendant
